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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

SAMUEL BURNS,                                                  Case No. 18-13637
    Plaintiff,

v.

MIDLAND FUNDING, LLC, ET AL.,                                  HON. AVERN COHN
     Defendants.
___________________________________/

     ORDER GRANTING DEFENDANTS’ MOTIONS TO DISMISS (DOCS. 9, 18, 24)
                                 I.   INTRODUCTION
       This is a debt collection case. Plaintiff, Samuel Burns (“Burns”), is suing

Defendants: Midland Funding, LLC (“Midland”); Midland Credit Management, Inc.

(“MCM”); Rancilio and Associates, Inc. (d/b/a Document Management Solutions)

(“DMS”); George Shaw (“Shaw”),1 and; Weltman, Weinberg & Reis Co. of Michigan

(d/b/a Weltman, Weinberg & Reis Co., LPA) (“WWR”). Plaintiff’s complaint states the

following claims:

      Count 1: Fair Debt Collection Practices Act violations by DMS and Shaw
      Count 2: Fair Debt Collection Practices Act violations by Midland, MCM, and WWR
      Count 3: Michigan Collection Practices Act violations by DMS and Shaw
      Count 4: Michigan Collection Practices Act violations by Midland, MCM, and WWR
      Count 5: Michigan Occupational Code violations by all Defendants
      Count 6: Michigan Consumer Protection Act violations by all Defendants
      Count 7: Statutory and Common Law Conversion by Midland, MCM and WWR
      Count 8: Abuse of Process by all Defendants
      Count 9: Exemplary Damages against all Defendants
(Doc. 1).


1
  Defendant George Shaw has not filed an Answer, nor has any attorney filed an
appearance on his behalf. Yet, Plaintiff has taken no action towards Defendant Shaw
since the filing of the complaint. Accordingly, the Court will DISMISS George Shaw due
to Plaintiff’s failure to prosecute.
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       Defendants have moved to dismiss Burns’ claims,2 saying that he lacks standing.

The Court agrees. For the reasons stated below, Defendants’ motions (Docs. 9, 18, 24)

are GRANTED.

                                 II.   BACKGROUND
                            A. The 36th District Court Action
       This case arises from debt collection efforts relating to a debt owed by Plaintiff,

Samuel Burns. Burns originally owed an outstanding credit card debt to Barclays, a

British multinational investment bank. Midland Funding, LLC, (Midland), a distressed

debt buyer, purchased the debt from Barclays. After purchasing the debt, Midland hired

Weltman, Weinberg & Reis Co. of Michigan (WWR) to collect the debt.

       WWR filed a complaint against Burns in Michigan’s 36th District Court. (Case No.

17-108080). WWR hired Document Management Solutions (DMS) to serve Burns with

the summons and complaint. DMS employed George Shaw (Shaw), who filed an

affidavit with the 36th District Court that said he had served Burns with the complaint.

However, Burns says that he was never served with the complaint and has evidence

that Shaw’s proof of service papers were fraudulent.

       Due to Burns’ failure to respond, the state court entered a default judgment

against him. WWR began enforcing the default judgment by obtaining a bank levy

against Burns. Burns says that this is when he first received any notice of the state

court lawsuit.




2
  WWR filed a Motion to Dismiss (Doc. 9), Midland and MCM filed a Motion for
Judgment on the Pleadings (Doc. 18), and DMS filed a Motion for Summary Judgment
(Doc. 24). Although each motion makes (slightly) differing legal arguments, each raises
the issue of Article III standing. Because the Court decides each motion on issue of
standing, the Court will treat the motions together, as motions under Rule 12(b)(1).
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       Burns filed a motion with the state court to set aside the default judgment, saying

that the service was fraudulent and never took place. The state court granted Burns’

motion and set aside the default judgment because WWR failed to produce Shaw and

were “unable to oppose Defendant’s Motion.” (Doc. 1, p. 73). Further, WWR stated that

they could not re-serve Burns because the summons had expired. Accordingly, the

District Court dismissed the case without prejudice.

                            B. The 31st District Court Action
       Midland filed another action, which sought to collect Burn’s debt, with the 31st

District Court. (Case No. 18-00025). Here, Burns entered into a consent judgment for

the full amount of the claim.

       However, Burns takes issue with the way in which Midland generally files debt

collection actions. Burns says that Midland files affidavits that are based on

inadmissible hearsay and fail to satisfy legal requirements.3 Further, Burns says that

Midland does not possess adequate documentation/proof of the debt before filing

lawsuits against debtors. Essentially, Burns complains that he was bullied into signing a

consent judgment, and that Midland’s actions (and the actions of its attorneys, WWR)

amount to fraud and conversion.

                                III.   APPLICABLE LAW
       Although Defendants seek dismissal (or judgment) under differing rules of civil

procedure (Rule 12(b)(6), Rule 12(c), Rule 56), “a district court may, at any time, sua

sponte, dismiss a complaint for lack of subject matter jurisdiction pursuant to Rule

12(b)(1) . . . .” Apple v. Glenn, 183 F.3d 477, 479 (6th Cir. 1999).



3
 For example, Burns says that the affidavits are signed more than 10 days before filing,
which violates MCL 600.2145.
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       Article III of the United States Constitution limits a court to “cases” and

“controversies.” Art. III, § 1. This “case or controversy” requirement has been

interpreted to require three elements: (1) an injury in fact, (2) that is fairly traceable to

the challenged conduct, and (3) the injury can be redressed by a favorable judicial

decision.” Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1547 (2016).

       Plaintiffs must allege an injury that is both “concrete and particularized.” Id. at

1545. “Article III standing requires a concrete injury even in the context of a statutory

violation.” Id. at 1549. Thus, a plaintiff cannot “allege a bare procedural violation,

divorced from any concrete harm, and satisfy the injury-in-fact requirement of Article III.”

Id. Defendants can violate a statute’s procedural requirements without causing any

harm. Id. at 1550.

                                     IV.   ANALYSIS
       Here, Burns has not satisfied Article III’s injury requirement. Much of Burns’

argument focuses on the 36th District Court fraudulent proof of service. However, even

assuming that everything Burns says is true, no injury arose from that service because

the 36th District Court vacated the default judgment and dismissed the case. Thus,

Burns has already received a court remedy for the fraudulent service he complains

about here.4

        Further, Burns cannot relate an injury to his consent judgment in the subsequent

31st District Court case. Burns does not dispute the amount of the debt itself, nor does



4
  The only injury conceivably concrete is Burns’ allegations that the wage garnishment
led to the loss of his employment. However, Title III of the Consumer Credit Protection
Act prohibits an employer from discharging an employee on the basis that their wages
have been garnished. Burns cannot hold WWR, Midland, or MCM liable for the wrongful
actions of his employer.
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he dispute that the affidavit inaccurately stated the amount of the debt. Instead, Burns

says that Midland filed the affidavit without being in possession of requisite supporting

documentation. Even if this is true, Burns does nothing more than “allege a bare

procedural violation, divorced from any concrete harm.” Spokeo, 136 S.Ct. at 1549.

       Burns consistently states that the unsupported affidavit “gives a false impression

to the consumer . . . that Midland and/or WWR have the ability to prove the alleged debt

through admissible business records and competent testimony of one of many affiants

employed by Midland and MCM.” (Doc. 1, p. 17); see also, (Doc. 20, p. 25). He then

cites law that supports the notion that fraudulent filings are actionable under the

FDCPA. The Court agrees that fraudulent filings can give rise to an Article III injury,

however, the distinction here is that Burns does not contend that the filings were

substantively false. Instead, Burns says that Midland did not have enough evidence of

the debt within its possession at the time of filing.

       The record shows that even if Midland had followed the procedure in which

Burns says Midland must file affidavits, the outcome here would have been the same. If

Midland had obtained more documentation and filed a properly supported affidavit, the

parties would be in the same positions as they are now. This supports the Court’s

conclusion that Burns has suffered no injury.

        The Court’s conclusion is further supported by the caselaw cited by WWR. (Doc.

9). In Johnston v. Midland Credit Mgmt., 229 F.Supp.3d 625 (2017), a plaintiff sued to

enforce a misprint on a debt collection document. The plaintiff alleged a generalized

injury relating to the defendants’ “false, deceptive and misleading collection letter.” Id. at

630. The court, relying on Sixth Circuit precedent, held that the injury alleged was not



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sufficiently concrete because the plaintiff did nothing more than “allege a bare

procedural violation, divorced from any concrete harm.” Id. at 630 (quoting Spokeo, 136

S.Ct. at 1549). Because the procedural violation did not “change the fact that Plaintiff

owed the full amount of the debt at issue,” the court found there was no injury-in-fact. Id.

at 629.

       Another case cited by WWR, that the Court finds instructive, is Cheslek v. Asset

Acceptance Captial Corp., No. 16-1183, 2017 WL 7370983 at * 3 (W.D.Mich. Dec. 22,

2017). In Cheslek, after similarly discussing the plaintiff’s inability to “rest on a mere

procedural violation of a statutory right to establish standing,” the court addressed the

plaintiff’s alleged injuries of “stress and costs.” Id. The court held that the injuries of

emotional damages and related costs were insufficient, and that “any stress or

expenses he incurred would have been the result of having to defend a lawsuit that was

properly filed to collect the [] debt that Plaintiff failed to pay.” Id. Here, Burns alleges

similar emotional damages that the Court finds are insufficient to evidence an Article III

injury-in-fact.




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                                  V.    CONCLUSION

       Because Burns has not suffered a concrete injury, all his claims DISMISSED5

and this case is CLOSED.



SO ORDERED.


                                                  s/Avern Cohn
                                                   AVERN COHN
                                                    UNITED STATES DISTRICT JUDGE

Dated: 7/10/2019
Detroit, Michigan




5
  Instead of relating specific, concrete injuries to each of his 9 claims, Burns filed a 119-
paragraph complaint that repeats itself and offers generalized references to his alleged
injuries. See, e.g., (Doc. 1, p. 23) (“As a direct and proximate result of said Defendants’
conduct, Plaintiff suffered the damages hereinbefore set forth.”). None of Burns’ claims
survive the conclusion that he has not suffered an injury.
                                              7
